     Case 2:15-cv-07413-GW-JPR Document 93 Filed 09/29/21 Page 1 of 1 Page ID #:2307



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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11     TRAVIS O. FOSTER,                ) Case No. CV 15-7413-GW (JPR)
                                        )
12                       Petitioner,    )
                                        )          J U D G M E N T
13                  v.                  )
                                        )
14     DEBBIE ASUNCION, Warden,         )
                                        )
15                       Respondent.    )
                                        )
16
17          Pursuant to the Order Accepting Findings and Recommendations
18    of U.S. Magistrate Judge,
19          IT IS HEREBY ADJUDGED that the Petition is denied and this
20    action is dismissed with prejudice.
21
22    DATED: September 29, 2021
                                         GEORGE H. WU
23                                       U.S. DISTRICT JUDGE
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